AO 245D (WDNC Rev. 02/11) Judgment in a Criminal Case for Revocation




                                                UNITED STATES DISTRICT COURT
                                                          Western District of North Carolina
   UNITED STATES OF AMERICA                                            )   JUDGMENT IN A CRIMINAL CASE
                                                                       )   (For Revocation of Probation or Supervised Release)
               V.                                                      )   (For Offenses Committed On or After November 1, 1987)

                                                                       )
   Joseph Derrick Eller                                                )   Case Number: DNCW505CR00006-002
                                                                       )   USM Number: 19899-058
                                                                       )
                                                                       )   Alicia DeLaney Brooks
                                                                       )   Defendant’s Attorney


THE DEFENDANT:
☒ Admitted guilt to violation of condition(s) 2, 5, 6, 7 & 8 of the term of supervision.
☐ Was found in violation of condition(s) count(s) after denial of guilt.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violation(s):
Violation                                                                                   Date Violation
Number Nature of Violation                                                                  Concluded
    2     New law violation – misdemeanor larceny                                           1/21/13
    5     Failure to report contact with law enforcement officer                            4/25/13
    6     Drug/alcohol use                                                                  4/25/13
    7     Failure to comply with drug testing/treatment requirements                        4/17/13
    8     Failure to report to probation officer as instructed                              3/29/13

       The Defendant is sentenced as provided in pages 2 through 3 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984, United States v. Booker, 125 S.Ct. 738 (2005), and 18 U.S.C. § 3553(a).

☐      The Defendant has not violated condition(s) and is discharged as such to such violation(s) condition.
☒      Violation(s) 1, 3 & 4 are dismissed on the motion of the United States.

        IT IS ORDERED that the Defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay monetary penalties, the defendant shall notify the court and United States
attorney of any material change in the defendant's economic circumstances.


                                                                                 Date of Imposition of Sentence: 2/5/2014




                                                                                 Date: February 10, 2014




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                                                                       IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
THIRTY-SEVEN (37) MONTHS.

NO SUPERVISED RELEASE TERM TO FOLLOW TERM OF IMPRISONMENT.

☐ The Court makes the following recommendations to the Bureau of Prisons:

☒ The Defendant is remanded to the custody of the United States Marshal.

☐ The Defendant shall surrender to the United States Marshal for this District:

            ☐ As notified by the United States Marshal.
            ☐ At am/pm on .

☐ The Defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

            ☐ As notified by the United States Marshal.
            ☐ Before 2 p.m. on .
            ☐ As notified by the Probation Office.


                                                                         RETURN

I have executed this Judgment as follows:




Defendant delivered on __________ to _______________________________________ at

________________________________________, with a certified copy of this Judgment.




                       United States Marshal
                                                                                  By:
                                                                                        Deputy Marshal




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                                                            STATEMENT OF ACKNOWLEDGMENT

I understand that my term of supervision is for a period of _______months, commencing on ____________________.

Upon a finding of a violation of probation or supervised release, I understand that the court may (1) revoke supervision,
(2) extend the term of supervision, and/or (3) modify the conditions of supervision.

I understand that revocation of probation and supervised release is mandatory for possession of a controlled substance,
possession of a firearm and/or refusal to comply with drug testing.

These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.



(Signed)          ____________________________________ Date: _________________
                   Defendant

(Signed)          ____________________________________ Date: _________________
                   U.S. Probation Office/Designated Witness




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